Case 5:14-cv-00665-F Document 613-3 Filed 02/13/22 Page 1 of 5




          Exhibit 3
                     Case 5:14-cv-00665-F Document 613-3 Filed 02/13/22 Page 2 of 5



From:                  Mithun Mansinghani
Sent:                  Tuesday, December 14, 2021 5:06 PM
To:                    Stronski, James; Andy Ferguson; Robles, Michael; Alex Kursman; Jennifer Moreno; Michael Lieberman;
                       Emma Rolls; Lynne Leonard; Bryan Cleveland; Cohen, Harry; Dale_Baich@fd.org; Angie_Beery@fd.org;
                       Sarah_Jernigan@fd.org; Kim_Stout@fd.org; McElligott, Andrew; Walker, Kenton
Cc:                    Maranda Spears
Subject:               RE: Glossip -- Follow up on Production Requests re Grant and Stouffer Executions.


Jim:

We continue to rely on our objections previously transmitted, but also continue the rolling production, which includes
the documents we are sending you shortly. Some of those already sent, and those we are sending today, are on your list
below. Others—like the autopsy report—either do not exist yet or our not in our possession yet. We are also working on
a privilege log.

Mithun Mansinghani
Solicitor General

Oklahoma Office of the Attorney General
313 NE 21st Street, Oklahoma City, OK 73105
(405) 522‐4392 | Mithun.Mansinghani@oag.ok.gov




From: Stronski, James <JStronski@crowell.com>
Sent: Tuesday, December 14, 2021 2:39 PM
To: Andy Ferguson <andy.ferguson@oag.ok.gov>; Robles, Michael <mrobles@crowell.com>; Alex Kursman
<alex_kursman@fd.org>; Jennifer Moreno <jennifer_moreno@fd.org>; Michael Lieberman
<michael_lieberman@fd.org>; Emma Rolls <emma_rolls@fd.org>; Lynne Leonard <lynne_kolodinsky@fd.org>; Mithun
Mansinghani <mithun.mansinghani@oag.ok.gov>; Bryan Cleveland <bryan.cleveland@oag.ok.gov>; Cohen, Harry
<HCohen@crowell.com>; Dale_Baich@fd.org; Angie_Beery@fd.org; Sarah_Jernigan@fd.org; Kim_Stout@fd.org;
McElligott, Andrew <AMcElligott@crowell.com>; Walker, Kenton <KentWalker@crowell.com>
Subject: [EXTERNAL] RE: Glossip ‐‐ Follow up on Production Requests re Grant and Stouffer Executions.

Mithun,

There remain important documents subject to the preservation order and which defendants should have access to that
have not been produced. For the Grant and the Stouffer executions, these include:

       1. Autopsy report
       2. Diagrams of the body, and all other notes from ME
       3. ME’s intake and release documents
       4. Postmortem toxicology and histology reports
       5. Detailed documentation of the timeline leading up to execution (including any death watch notes or records)
       6. State’s witness accounts (and any other accounts to which the State has access)
       7. Medical records for the last 24 months, specifically including any medical records made in the 35 days before
          the execution and day of execution
       8. Records of nature, amount, and timing of the food, beverage and medicinal intake, if any, the 24 hours prior to
          the execution
                                                              1
                    Case 5:14-cv-00665-F Document 613-3 Filed 02/13/22 Page 3 of 5

      9. The following records specifically required by the preservation order: “Photograph and document evidence
          related to pulmonary edema and the intravenous lines: including: lung weight; perform a thorough examination
          of and document any fluid present in the lungs, large or small airways, or mouth or nose; identify the IV site(s),
          note if the catheter was placed intravascularly, and note any extravasation of fluid around the IV; and note any
          signs of multiple IV attempts.”
      10. Texts, emails or other messages or recorded communications concerning the executions.

These are relevant to both the preliminary injunction hearing and the trial and should not be subject to privilege. Please
produce them immediately. We reserve all remedies to the extent they are not produced or not produced on a schedule
that allows their use in connection with the schedules in place for the preliminary injunction and the trial.

Regards,

Jim



~~~~~~~~~~~~~~~~~~~~~~~~~~~~
James K. Stronski | Crowell & Moring LLP
Partner
590 Madison Avenue
New York, NY 10022-2524
Office: 212-895-4217 | Fax: 212-223-4134

Privileged and Confidential
Attorney-Client Communication
Attorney Work Product

This message contains privileged and confidential information. IF IT WAS SENT TO YOU BY MISTAKE, DO NOT READ
IT. Instead, please notify the sender (or postmaster@crowell.com) by reply e-mail, and delete this e-mail. Unauthorized
dissemination, forwarding or copying of this e-mail is strictly prohibited.

============================================================

From: Stronski, James
Sent: Friday, December 10, 2021 6:02 PM
To: 'Andy Ferguson' <andy.ferguson@oag.ok.gov>; Robles, Michael <MRobles@crowell.com>; Alex Kursman
<alex_kursman@fd.org>; Jennifer Moreno <jennifer_moreno@fd.org>; Michael Lieberman
<michael_lieberman@fd.org>; Emma Rolls <emma_rolls@fd.org>; Lynne Leonard <lynne_kolodinsky@fd.org>; Mithun
Mansinghani <mithun.mansinghani@oag.ok.gov>; Bryan Cleveland <bryan.cleveland@oag.ok.gov>; Cohen, Harry
<HCohen@crowell.com>; Dale_Baich@fd.org; Angie_Beery@fd.org; Sarah_Jernigan@fd.org; Kim_Stout@fd.org;
McElligott, Andrew <AMcElligott@crowell.com>; Walker, Kenton <KentWalker@crowell.com>
Subject: RE: Glossip ‐‐ Stouffer Production and Privilege Log for Grant and Stouffer Productions.

Mithun,

For the Stouffer production, we request the same production of documents and things preserved by court order as
requested in connection with the Grant execution. Please let us know when you can make this production in view of the
December 17 date to supplement the preliminary injunction motion.

Please also let us know if you will produce (and when) a privilege log for any withheld documents, and redactions, made
on privilege grounds for the production made below in connection with the Grant execution and to be made in
connection with the Stouffer execution. Thanks.


                                                              2
                   Case 5:14-cv-00665-F Document 613-3 Filed 02/13/22 Page 4 of 5

Regards,

Jim
~~~~~~~~~~~~~~~~~~~~~~~~~~~~
James K. Stronski | Crowell & Moring LLP
Partner
590 Madison Avenue
New York, NY 10022-2524
Office: 212-895-4217 | Fax: 212-223-4134

Privileged and Confidential
Attorney-Client Communication
Attorney Work Product

This message contains privileged and confidential information. IF IT WAS SENT TO YOU BY MISTAKE, DO NOT READ
IT. Instead, please notify the sender (or postmaster@crowell.com) by reply e-mail, and delete this e-mail. Unauthorized
dissemination, forwarding or copying of this e-mail is strictly prohibited.

============================================================

From: Andy Ferguson <andy.ferguson@oag.ok.gov>
Sent: Monday, December 6, 2021 6:19 PM
To: Robles, Michael <MRobles@crowell.com>; Alex Kursman <alex_kursman@fd.org>; Jennifer Moreno
<jennifer_moreno@fd.org>; Michael Lieberman <michael_lieberman@fd.org>; Emma Rolls <emma_rolls@fd.org>;
Lynne Leonard <lynne_kolodinsky@fd.org>; Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>; Andy Ferguson
<andy.ferguson@oag.ok.gov>; Bryan Cleveland <bryan.cleveland@oag.ok.gov>; Cohen, Harry <HCohen@crowell.com>;
Dale_Baich@fd.org; Stronski, James <JStronski@crowell.com>; Angie_Beery@fd.org; Sarah_Jernigan@fd.org;
Kim_Stout@fd.org; McElligott, Andrew <AMcElligott@crowell.com>; Walker, Kenton <KentWalker@crowell.com>
Subject: Andy Ferguson shared the folder "2021.12.06 Grant Materials (14‐cv‐665)" with you.

External Email




                       Andy Ferguson shared a folder with you



                             Here's the folder that Andy Ferguson shared with you.



                                           2021.12.06 Grant Materials (14-cv-665)



                                    This link only works for the direct recipients of this message.



                                                                3
Case 5:14-cv-00665-F Document 613-3 Filed 02/13/22 Page 5 of 5




                                                        Privacy Statement




                              4
